1    Mark E. Haddad, SBN 205945
     mhaddad@sidley.com
2    Alycia A. Degen, SBN 211350
     adegen@sidley.com
3    Sean A. Commons, SBN 217603
     scommons@sidley.com
4    SIDLEY AUSTIN LLP
     555 West Fifth Street, Suite 4000
5    Los Angeles, CA 90013
     Telephone: (213) 896-6000
6    Fax: (213) 896-6600
7    Attorneys for Plaintiffs
     [Additional Counsel Listed on Next Page]
8
9                                     UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11   CRISTA RAMOS, et al.,                             Case No. 3:18-cv-01554-EMC
12                 Plaintiffs,                         CERTIFICATE OF SERVICE ON THE
                                                       UNITED STATES OF AMERICA
13          v.
14   KIRSTJEN NIELSEN, et al.,
15                 Defendants.
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                                 CERTIFICATE OF SERVICE – CASE NO. 3:18-CV-1554
1    Additional Counsel for Plaintiffs
2    Ahilan T. Arulanantham, SBN 237841
     aarulanantham@aclusocal.org
3    Jennifer Poon, SBN 5468095 (New York)*
     jpoon@aclusocal.org
4    ACLU OF SOUTHERN CALIFORNIA
     1313 West 8th Street
5    Los Angeles, CA 90017
     Telephone: (213) 977-5211
6    Fax: (213) 977-5297
7    Emilou MacLean, SBN 319071
8    emi@ndlon.org
     Jessica Karp Bansal, SBN 277347
9    jbansal@ndlon.org
     NATIONAL DAY LABORER
10   ORGANIZING NETWORK
     674 S. La Layette Park Place
11   Los Angeles, CA 90057
     Telephone: (213) 380-2214
12   Fax: (213) 380-2787

13   Nicole M. Ryan, SBN 175980
     nicole.ryan@sidley.com
14   Ryan M. Sandrock, SBN 251781
     rsandrock@sidley.com
15   SIDLEY AUSTIN LLP
     555 California Street, Suite 2000
16   San Francisco, CA 94104
     Telephone: (415) 772-1200
17   Fax: (415) 772-7400

18   Amanda R. Farfel, SBN 288126
     afarfel@sidley.com
19   Andrew B. Talai, SBN 300053
     atalai@sidley.com
20   Marisol Ramirez, SBN 307069
     marisol.ramirez@sidley.com
21   SIDLEY AUSTIN LLP
     555 West Fifth Street, Suite 4000
22   Los Angeles, CA 90013
     Telephone: (213) 896-6000
23   Fax: (213) 896-6600

24   Attorneys for Plaintiffs
25   * pro hac vice application forthcoming
26
27
28


                                CERTIFICATE OF SERVICE – CASE NO. 3:18-CV-1554
 1                                          PROOF OF SERVICE
      STATE OF CALIFORNIA                        )
 2                                               )   SS
      COUNTY OF LOS ANGELES                      )
 3

 4           I am employed in the County of Los Angeles, State of California. I am over the age of 18

 5   years and not a party to the within action. My business address is 555 West Fifth Street, Los

 6   Angeles, CA 90013.

 7           On March 21, 2018, I served the foregoing document(s) described as:

 8          Class Action Complaint
 9          Summons in a Civil Action
            Plaintiffs’ Certification of Interested Entities or Persons Pursuant to Civil Local Rule 3-
10           15
11          Plaintiffs’ Notice of Pendency of Other Action or Proceeding
            Civil Standing Order – General, U.S. District Judge Edward M. Chen
12
            Civil Standing Order on Discovery, U.S. District Judge Edward M. Chen
13          Civil Pretrial Instructions, U.S. District Judge Edward M. Chen
14          Guidelines for Trial in Civil Cases (Jury and Bench), U.S. District Judge Edward M.
             Chen
15          Standing Order for All Judges of the Northern District of California; Contents of Joint
             Case Management Statement
16
            ECF Registration Information
17          Filing Procedures (San Francisco)
18          Notice of Availability of Magistrate Judge to Exercise Jurisdiction
            Notice of Lawsuit and Request to Waive Service of a Summons [Blank]
19
            Waiver of the Service of Summons [Blank]
20          Order Setting Initial Case Management Conference and ADR Deadlines (with attached
             Notice of Eligibility for Video Recording)
21

22   on all interested parties in this action as follows:

23                                  -SEE ATTACHED SERVICE LIST-

24
              (VIA CERTIFIED U.S. MAIL) I served the foregoing document(s) by U.S. Mail,
25             certified, with return receipt requested as follows: I placed true copies of the
               document(s) in a sealed envelope addressed to each interested party as shown above.
26             I placed each such envelope with postage thereon fully prepaid, for collection and
               mailing at Sidley Austin LLP, Los Angeles, California. I am readily familiar with
27             Sidley Austin LLP’s practice for collection and processing of correspondence for
               mailing with the United States Postal Service. Under that practice, the
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                          CERTIFICATE OF SERVICE – CASE NO. 3:18-cv-01554-EMC
 1                                               SERVICE LIST

 2

 3   1.          Kirstjen Nielsen, in her official capacity as Secretary of Homeland Security
                 Jefferson B. Sessions III
 4               U.S. Dept. of Justice
                 950 Pennsylvania Ave., N.W.
 5               Washington, D.C. 20530

 6   2.          Elaine C. Duke, in her official capacity as Deputy Secretary of Homeland Security
                 Jefferson B. Sessions III
 7               U.S. Dept. of Justice
                 950 Pennsylvania Ave., N.W.
 8               Washington, D.C. 20530

 9   3.          United States Department of Homeland Security
                 Jefferson B. Sessions III
10               U.S. Dept. of Justice
                 950 Pennsylvania Ave., N.W.
11               Washington, D.C. 20530

12   4.          United States of America
                 Jefferson B. Sessions III
13               U.S. Dept. of Justice
                 950 Pennsylvania Ave., N.W.
14               Washington, D.C. 20530

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